          Case 18-12947 Doc 4 Filed 11/04/18 Entered 11/04/18 08:44:29 Main Document Page 1 of 3
  Fill in this information to identify your case:
  Debtor 1             Helen                 J                      Drouillard
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

  Case number
  (if known)                                                                                                          Check if this is an
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?

            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                               $2,623.00              $2,150.00           $473.00
Honor Credit Union                               2012 Chevrolet Impala
Creditor's name
8385 Edgewood Dr.                                (approx. 150,000 miles)
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Berrien Springs          MI      49103            Unliquidated
City                     State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates
       to a community debt
Date debt was incurred           11/2013         Last 4 digits of account number        0     0    2    7




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                 $2,623.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
          Case 18-12947 Doc 4 Filed 11/04/18 Entered 11/04/18 08:44:29 Main Document Page 2 of 3

Debtor 1        Helen J Drouillard                                                        Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                           $100,000.00             $227,000.00
Internal Revenue Service                      Debtor's former residence
Creditor's name
PO Box 7346
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Philadelphia            PA      19101-7346     Unliquidated
City                    State   ZIP Code
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates
       to a community debt
Date debt was incurred          Various       Last 4 digits of account number
TAX LIENS, amount is estimated
  2.3                                         Describe the property that
                                              secures the claim:                           $107,700.70             $227,000.00
Mr. Cooper                                    Debtor's former residence
Creditor's name
8950 Cypress Waters Blvd
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Coppell                 TX      75019          Unliquidated
City                    State   ZIP Code
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates
       to a community debt
Date debt was incurred          4/2013        Last 4 digits of account number        2     3    4    6




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $207,700.70

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $210,323.70

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
       Case 18-12947 Doc 4 Filed 11/04/18 Entered 11/04/18 08:44:29 Main Document Page 3 of 3

Debtor 1       Helen J Drouillard                                                      Case number (if known)

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        Brock & Scott PLLC                                                     On which line in Part 1 did you enter the creditor?      2.3
        Name
        1501 NW 49th St, Suite 200                                             Last 4 digits of account number
        Number       Street




        Ft. Lauderdale                           FL      33309
        City                                     State   ZIP Code

  2
        Citimortgage                                                           On which line in Part 1 did you enter the creditor?      2.3
        Name
        PO Box 6243                                                            Last 4 digits of account number
        Number       Street




        Sioux Falls                              SD      57117
        City                                     State   ZIP Code

  3
        Hon. Catherine Combee                                                  On which line in Part 1 did you enter the creditor?      2.3
        Name
        Polk County Courthouse                                                 Last 4 digits of account number
        Number       Street
        255 N. Broadway Ave.



        Bartow                                   FL      33830
        City                                     State   ZIP Code




Official Form 106D                  Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                page 3
